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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION


 UNITED STATES OF AMERICA,                        )
                                                  )
                Plaintiff,                        )
                                                  )
        vs.                                       )        1:07-cr-0090-02-WTL-DKL
                                                  )
 ANGEL S. TURNER,                                 )
                                                  )
                Defendant.                        )


                        REPORT AND RECOMMENDATION
              ON PETITION FOR VIOLATION OF SUPERVISED RELEASE

        This cause is before the Court for a Report and Recommendation on petition for violation

 of supervised release filed on January 23, 2013. [Docket Nos. 112, 113.] The Court held a

 hearing on November 12, 2013, at which the United States of America and Defendant Angel S.

 Turner appeared by counsel; United States Probation Officer Ron Carothers was also present.

        Defendant previously admitted to violations 1, 2, 3 (in part), and 4 and the Court

 previously found that Defendant violated the same. [Docket No. 119.] The Court held any

 disposition of the petition in abeyance to allow Defendant an opportunity to come into

 compliance with her terms of release. [Docket Nos. 119, 120, 121.]

        At the November 12, 2013, hearing, the parties and the USPO agreed that no further

 action is needed at this time, and asked the Court to proceed accordingly. Defendant remains

 employed and is making efforts to get her driver’s license. Defendant’s drug tests continue to be

 negative. For these reasons, as more fully set forth on the record, the Magistrate Judge agrees

 and recommends to the District Judge that no further action be taken on the petition.


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        You are hereby notified that the District Judge may reconsider any matter assigned to a

 Magistrate Judge pursuant to 28 U.S.C. ' 636(b)(1)(B) and (C) and Federal Rule of Civil

 Procedure Rule 72(b). You shall have within 14 days after being served a copy of this Report

 and Recommendation to serve and file written objections. Failure to object within this time

 period may constitute a waiver.

        Dated: 11/14/2013

                                          _______________________________
                                           Tim A. Baker
                                           United States Magistrate Judge
                                           Southern District of Indiana




 Copies to:

 Michael Donahoe, IFCD
 Josh Minkler, AUSA
 Ross Carothers, USPO




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